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EXHIBIT III

CHAPTER 7 LIQUIDATION ANALYSIS

 

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EXHIBIT 111

CHAPTER 7 LIQUIDATION ANALYSIS
A. INTRODUCTION

The foliowing is a Liquidation Analysis for BSCV, Inc. and its Debtor Affiliates (the
“Debtors”). This Liquidation Anaiysis reflects the projected outcome of the hypothetical, orderly
liquidation of the Debtors under chapter 7 of the Bankruptcy Code. Ciairns estimates set forth
herein are not an admission of liabiiity or amount

if the Debtors' chapter il cases were converted to cases under chapter 7 of the
Bankruptcy Code, a chapter 7 trustee would be elected or appointed to liquidate the Debtors'
remaining assets for distribution to holders of Aiiowed Ciaims.

'l`he cash amount available for distribution to general unsecured creditors in a chapter 7
case consists of the proceeds resulting from the disposition of unencumbered assets of the
Debtors reduced by the costs of liquidation and the value of Allowed Adrninistrative Claims,
Priority Ciaims and Priority ’I`ax Claims. The Debtors have reviewed and analyzed liquidation
through conversion to cases under chapter 7, and this Liquidation Analysis reflects the Debtors'
estimates of recoveries in post-conversion chapter 7 cases for BSCV, inc. and its Debtor
Affiiiates.

The Liquidation Anaiysis assumes that, in a chapter 7 liquidation, the trustee will seek to
liquidate any remaining assets, object to and resolve ciaims and otherwise wind down the estates
over approximater 180 days following conversion As the Debtors’ Plan is a liquidating plan
under chapter il, the principal difference in estimated proceeds availabie for general unsecured
creditors from the distributions and recoveries estimated in the Plan are the estimated higher
chapter '7 trustee fees and potentialiy higher professional fees due to the unfamiliarity that new
professional may have with the case status. linder the facts and circumstances of these cases, as
of the date hereof, the Debtors submit that the assumptions made are reasonable

B. Assuinptions

The Liquidation Analysis considers many factors and makes certain assumptions
'i`he general assumptions are described below.

l. General Assumptions

The Liquidation Analysis assumes that the Bankruptcy Cases were converted to
cases under chapter 7 on june l, 2009.

Both the estimated proceeds arising from the liquidation of the i)ebtors' assets and
the estimated claims associated with the Debtors are shown in the anaiysis with a low and high
estimated amount, vvhere applicable

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Balance Sheet Assets

The following are assumptions with respect to specific categories of the balance
sheet assets.

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Cash and Short»term Investrnents: 'Estirnated cash balances as of June l,
2009. Does not assume any significant investment income

Tax Refund Receivable: Assurnes in the l~ligh Recovery Scenario that the
Debtor prevails on carrying back losses to prior periods resulting in $7 million
in state and federal income tax refunds 'l`he Low Recovery Scenario assumes
that no refunds are obtained

Note Receivable from Purchaser: The High Recovery Scenario assumes that
the l)ebtors are paid 100% of the face amount under the annual excess cash
flow formula The Low Recovery Scenario assumes that only the final
minimum payment of $2 million is earned

Administrative and Priority Clairns and Liquidation Expenses

3..

Administrative and Priority Claims: The analysis assumes that all
Adrninistrative Clairns and Priority Claims were either paid or assumed by
the Purchaser.

503(1))(9) Claims: Assurnes that claims arising from the inventory
received in the 20 days preceding the filing do not exceed the $lO million
cap and are therefore shown as the amount funded at closing

Due to purchaser: Based on the Debtors current analysis, cure payments
related to assumed executory contracts are approximately $lO0,000 less
that the amount funded by Purchaser at closing Analysis assumes that the
excess is returned to the Purchaser.

Chapter 7 Trustee Fees: Assumes that a Chapter 7 "l`rustee would he paid
3% of the value distributed

Professional Fees: Assumes that the Chapter 7 Trustee retains legal
counsel, financial advisors and a claims agent to assist in the
administration of the liquidation Assumes that the case runs for
approximately 6 months Analysis includes estimated amounts for fees
incurred before conversion of the cases to chapter 7 and assumes such
amounts are paid prior to conversion

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4. General Unsecured Claims

General Unsecured Claims include the Debtors’ estimate of valid
scheduled and filed claims for pre-petition iiabilities, including potential rejection
damages related to unexpired real estate leases that were rejected by the Debtors.
Since the claims bar date has not yet passed, the amounts used in the liquidation
Analysis are the l)ebtors’ estimates and the actual amount of Allowed Claims
could vary materially from these estimates

C. Disclairners and Variances

The process of estimating recoveries in a chapter 7 ease is uncertain due to
economic, business, litigation and other contingencies The underlying estimates and projections
supporting the attached liquidation Analysis have been prepared by the Debtors and have not
been examined by independent accountants

 

'l he l)ebtors make no representations of the accuracy of these estimates and
projections or a chapter 7 trustee's ability to meet the estimates and proj ections. The assumptions
underlying the estimates and projections are subject to significant uncertainties
Unanticipated results, positive or negative, may occur. The Liquidation Analysis therefore is, by
its nature, uncertain l\lonetheless, the Liquidation Analysis represents the Debtorsl current and
best estimate of the financial results from the conversion of the Banl<ruptcy Cases to cases under
chapter 7 and the associated liquidation of assets under the circumstances described above

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Liquidation Analysis
BSCV, Inc. and its Debtor Afi”:liates

{$ in thousands)

Assets

Cash and Sliort»term lnvestrnents
Tax Refund Receivable

Note Receivable from Purchaser
Amounts Availabie for Distribution

 

Admini§trative and Priori§y §§laims and liquidation Expenses

 

Estimated Liquidatio
Proceeds

_L_¢i\_v liles
s is,ioo s 18,700
- 7,000
2,000 4,000

20, 100 29,7€}0

 

General Adrninistrative and Priority Claims §§ - 3 ~

503 (b)(§) Clairns 7,900 7,900
Due to Purchaser iOO 100
Cnapter 7 Ti'ustee Fees 600 900
Proi`essional Fees 2,050 1,600

Total Administrative and Priority Claims and Liquidation Expenses
Tota| Arnount Available for Unsecured Creditors

Estimated Recoverie§ to Unsecured Claims

10,65() 19,500

$ 9,450 $ 19,200

 

 

 

 

 

 

 

l Estirnated Percent Estimated Amount
Estimated Allowed Clai Recovery Distributed
Generai Unsecured Clailns $ l60,000 $ 140,00{) 5.9% 13.7% $ 9,450 $ 19,200

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